          Case 18-22537-GLT                     Doc 18          Filed 07/19/18 Entered 07/19/18 11:45:34                              Desc Main
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    Fill in this information to identify your case:


    Debtor 1              NANCY                R.               PFEIL
                          __________________________________________________________                                     Check if this is an amended
                          First Name            Middle Name               Last Name
                                                                                                                         plan, and list below the
                                                                                                                         sections of the plan that have
    Debtor 2              __________________________________________________________
    (Spouse, if filing)   First Name            Middle Name               Last Name
                                                                                                                         been changed.


    United States Bankruptcy Court for the Western District of Pennsylvania


        Case number       18-22537-GLT
    (if known)




  Western District of Pennsylvania
  Chapter 13 Plan Dated:                                      7/19/2018



   Part 1:          Notices

   To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                          indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
                          rulings may not be confirmable. The terms of this plan control unless otherwise ordered by the court.

                          In the following notice to creditors, you must check each box that applies.

   To Creditors:          YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED, MODIFIED, OR ELIMINATED.

                          You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                          attorney, you may wish to consult one.

                          IF YOU OPPOSE THIS PLAN’S TREATMENT OF YOUR CLAIM OR ANY PROVISION OF THIS PLAN, YOU OR YOUR
                          ATTORNEY MUST FILE AN OBJECTION TO CONFIRMATION AT LEAST SEVEN (7) DAYS BEFORE THE DATE SET FOR
                          THE CONFIRMATION HEARING, UNLESS OTHERWISE ORDERED BY THE COURT. THE COURT MAY CONFIRM THIS
                          PLAN WITHOUT FURTHER NOTICE IF NO OBJECTION TO CONFIRMATION IS FILED. SEE BANKRUPTCY RULE 3015. IN
                          ADDITION, YOU MAY NEED TO FILE A TIMELY PROOF OF CLAIM IN ORDER TO BE PAID UNDER ANY PLAN.

                          The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether the plan
                          includes each of the following items. If the “Included” box is unchecked or both boxes are checked on each line, the
                          provision will be ineffective if set out later in the plan.


 1.1      A limit on the amount of any claim or arrearages set out in Part 3, which may result in a partial
          payment or no payment to the secured creditor (a separate action will be required to                                  Included      Not Included
          effectuate such limit)
 1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in
         Section 3.4 (a separate action will be required to effectuate such limit)                                              Included      Not Included

 1.3     Nonstandard provisions, set out in Part 9                                                                              Included      Not Included



  Part 2:           Plan Payments and Length of Plan


2.1 Debtor(s) will make regular payments to the trustee:

                     376.00
    Total amount of $______________ per month for a remaining plan term of 60
                                                                           _____ months shall be paid to the trustee from future earnings as
    follows:
    Payments              By Income Attachment       Directly by Debtor                By Automated Bank Transfer

    D#1                                $0.00                       $376.00                          $0.00

    D#2                                $0.00                        $0.00                           $0.00

    (Income attachments must be used by debtors having attachable income)                (SSA direct deposit recipients only)




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     2.2 Additional payments:

                Unpaid Filing Fees. The balance of $ 310.00               shall be fully paid by the Trustee to the Clerk of the Bankruptcy Court from the first
                available funds.
           Check one.

                None. If "None" is checked, the rest of Section 2.2 need not be completed or reproduced.

                The debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated
                amount, and date of each anticipated payment.




     2.3    The total amount to be paid into the plan (plan base) shall be computed by the trustee based on the total amount of plan payments
            plus any additional sources of plan funding described above.


      Part 3:       Treatment of Secured Claims


     3.1 Maintenance of payments and cure of default, if any, on Long-Term Continuing Debts.

           Check one.

                None. If "None" is checked, the rest of Section 3.1 need not be completed or reproduced.

                The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
                the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed by the trustee. Any existing
                arrearage on a listed claim will be paid in full through disbursements by the trustee, without interest. If relief from the automatic stay is
                ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this paragraph
                as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan.
           Name of creditor                              Collateral                                   Current            Amount of              Start date
                                                                                                      installment        arrearage (if          (MM/YYYY)
                                                                                                      payment            any)
                                                                                                      (including escrow)

           BSI FINANCIAL SERVICES                        618 East 7th Avenue
                                                                                                             $304.13               $0.00           07/2018
           (Debtor is seeking Loss Mitigation)           Tarentum, PA 15084

           Insert additional claims as needed.

     3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

           Check one.
                None. If "None" is checked, the rest of Section 3.2 need not be completed or reproduced.

                The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                The debtor(s) will request, by filing a separate adversary proceeding, that the court determine the value of the secured claims listed
                below.

           For each secured claim listed below, the debtor(s) state that the value of the secured claims should be as set out in the column headed
           Amount of secured claim. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.
           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5. If the
           amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety as an
           unsecured claim under Part 5 (provided that an appropriate order of court is obtained through an adversary proceeding).
           Name of creditor           Estimated amount          Collateral      Value of       Amount of     Amount of        Interest     Monthly
                                      of creditor's total                       collateral     claims senior secured          rate         payment to
                                      claim (See Para. 8.7                                     to creditor's claim                         creditor
                                      below)                                                   claim

                                                 $0.00                               $0.00           $0.00          $0.00          0%              $0.00


           Insert additional claims as needed.




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     3.3 Secured claims excluded from 11 U.S.C. § 506.

          Check one.

              None. If "None" is checked, the rest of Section 3.3 need not be completed or reproduced.

              The claims listed below were either:

          (1) Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for personal
          use of the debtor(s), or

          (2) Incurred within one (1) year of the petition date and secured by a purchase money security interest in any other thing of value.

          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the trustee.

          Name of creditor                        Collateral                                       Amount of claim      Interest     Monthly payment
                                                                                                                        rate         to creditor

                                                                                                          $0.00              0%                  $0.00


          Insert additional claims as needed.

     3.4 Lien Avoidance.

          Check one.
              None. If “None” is checked, the rest of Section 3.4 need not be completed or reproduced.               The remainder of this paragraph will be
              effective only if the applicable box in Part 1 of this plan is checked.
              The judicial liens or nonpossessory, nonpurchase-money security interests securing the claims listed below impair exemptions to which the
              debtor(s) would have been entitled under 11 U.S.C. § 522(b). The debtor(s) will request, by filing a separate motion, that the court order
              the avoidance of a judicial lien or security interest securing a claim listed below to the extent that it impairs such exemptions. The amount of
              any judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any,
              of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and
              Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

          Name of creditor                         Collateral                                      Modified principal     Interest    Monthly payment
                                                                                                   balance*               rate        or pro rata

                                                                                                           $0.00              0%                 $0.00


          Insert additional claims as needed.

          *If the lien will be wholly avoided, insert $0 for Modified principal balance.
     3.5 Surrender of Collateral.
          Check one.

              None. If “None” is checked, the rest of Section 3.5 need not be completed or reproduced.

              The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that upon
              confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under 11 U.S.C. § 1301
              be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5.

          Name of creditor                                                            Collateral




          Insert additional claims as needed.




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     3.6 Secured tax claims.
          Name of taxing authority         Total amount of claim Type of tax                      Interest      Identifying number(s) if     Tax periods
                                                                                                  rate*         collateral is real estate


                                                                                                       0%


          Insert additional claims as needed.

          * The secured tax claims of the Internal Revenue Service, Commonwealth of Pennsylvania, and any other tax claimants shall bear interest
          at the statutory rate in effect as of the date of confirmation.


      Part 4:       Treatment of Fees and Priority Claims


     4.1 General.

          Trustee’s fees and all allowed priority claims, including Domestic Support Obligations other than those treated in Section 4.5, will be paid in full
          without postpetition interest.

     4.2 Trustee's fees.

          Trustee’s fees are governed by statute and may change during the course of the case. The trustee shall compute the trustee’s percentage fees
          and publish the prevailing rates on the court’s website for the prior five years. It is incumbent upon the debtor(s)’ attorney or debtor (if pro se) and
          the trustee to monitor any change in the percentage fees to insure that the plan is adequately funded.

     4.3 Attorney's fees.

                                          Michael S. Geisler, Esquire
          Attorney’s fees are payable to______________________________.                                        600.00
                                                                                 In addition to a retainer of $__________               0.00
                                                                                                                             (of which $__________   was a
                                                                                                                                             3,400.00
          payment to reimburse costs advanced and/or a no-look costs deposit) already paid by or on behalf of the debtor, the amount of $__________       is
                                     250.00
          to be paid at the rate of $__________                                                     0.00
                                                per month. Including any retainer paid, a total of $__________   in fees and costs reimbursement has been
          approved by the court to date, based on a combination of the no-look fee and costs deposit and previously approved application(s) for
          compensation above the no-look fee. An additional $ 0.00
                                                                 __________ will be sought through a fee application to be filed and approved before any
          additional amount will be paid through the plan, and this plan contains sufficient funding to pay that additional amount, without diminishing the
          amounts required to be paid under this plan to holders of allowed unsecured claims.

                Check here if a no-look fee in the amount provided for in Local Bankruptcy Rule 9020-7(c) is being requested for services rendered to the
                debtor(s) through participation in the bankruptcy court’s Loss Mitigation Program (do not include the no-look fee in the total amount of
                compensation requested, above).

     4.4 Priority claims not treated elsewhere in Part 4.

                None. If “None” is checked, the rest of Section 4.4 need not be completed or reproduced.

           Name of creditor                             Total amount of           Interest           Statute providing priority status
                                                        claim                     rate
                                                                                  (0% if blank)

                                                                  $0.00                 0%


          Insert additional claims as needed.




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     4.5 Priority Domestic Support Obligations not assigned or owed to a governmental unit.

          If the debtor(s) is/are currently paying Domestic Support Obligations through existing state court order(s) and leaves this section blank, the
          debtor(s) expressly agrees to continue paying and remain current on all Domestic Support Obligations through existing state court orders.


              Check here if this payment is for prepetition arrearages only.

          Name of creditor (specify the actual payee, e.g. PA     Description                            Claim                  Monthly payment
          SCDU)                                                                                                                 or pro rata


                                                                                                                 $0.00                   $0.00


          Insert additional claims as needed.

     4.6 Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount.
          Check one.

              None. If “None” is checked, the rest of Section 4.6 need not be completed or reproduced.

              The allowed priority claims listed below are based on a Domestic Support Obligation that has been assigned to or is owed to a
              governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This provision requires that
              payments in Section 2.1 be for a term of 60 months. See 11 U.S.C. § 1322(a)(4).


          Name of creditor                                                          Amount of claim to be paid



                                                                                                                   $0.00


          Insert additional claims as needed.

     4.7 Priority unsecured tax claims paid in full.
          Name of taxing authority                          Total amount of claim Type of tax                     Interest         Tax periods
                                                                                                                  rate (0% if
                                                                                                                  blank)

                                                                      $0.00                                              0%


          Insert additional claims as needed.




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      Part 5:       Treatment of Nonpriority Unsecured Claims


     5.1 Nonpriority unsecured claims not separately classified.

                                                 0.00
          Debtor(s) ESTIMATE(S) that a total of $__________ will be available for distribution to nonpriority unsecured creditors.

          Debtor(s) ACKNOWLEDGE(S) that a MINIMUM of $__________    0.00         shall be paid to nonpriority unsecured creditors to comply with the liquidation
          alternative test for confirmation set forth in 11 U.S.C. § 1325(a)(4).

          The total pool of funds estimated above is NOT the MAXIMUM amount payable to this class of creditors. Instead, the actual pool of funds
          available for payment to these creditors under the plan base will be determined only after audit of the plan at time of completion. The estimated
          percentage of payment to general unsecured creditors is 0.00__________%. The percentage of payment may change, based upon the total amount
          of allowed claims. Late-filed claims will not be paid unless all timely filed claims have been paid in full. Thereafter, all late-filed claims will be paid
          pro-rata unless an objection has been filed within thirty (30) days of filing the claim. Creditors not specifically identified elsewhere in this plan are
          included in this class.

     5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims.

          Check one.

                None. If "None" is checked, the rest of Section 5.2 need not be completed or reproduced.

                The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below on
                which the last payment is due after the final plan payment. These payments will be disbursed by the trustee. The claim for the arrearage
                amount will be paid in full as specified below and disbursed by the trustee.
          Name of creditor                                      Current installment          Amount of arrearage         Estimated total             Payment
                                                                payment                      to be paid on the claim     payments                    beginning
                                                                                                                         by trustee                  date (MM/
                                                                                                                                                     YYYY)

                                                                            $0.00                       $0.00                       $0.00


          Insert additional claims as needed.

     5.3 Postpetition utility monthly payments.

          The provisions of Section 5.3 are available only if the utility provider has agreed to this treatment. These payments comprise a single
          monthly combined payment for postpetition utility services, any postpetition delinquencies, and unpaid security deposits. The claim payment will
          not change for the life of the plan. Should the utility obtain a court order authorizing a payment change, the debtor(s) will be required to file an
          amended plan. These payments may not resolve all of the postpetition claims of the utility. The utility may require additional funds from the
          debtor(s) after discharge.

          Name of creditor                                                   Monthly payment                 Postpetition account number



                                                                                          $0.00


          Insert additional claims as needed.




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     5.4 Other separately classified nonpriority unsecured claims.

            Check one.
                None. If "None" is checked, the rest of Section 5.4 need not be completed or reproduced.

                The allowed nonpriority unsecured claims listed below are separately classified and will be treated as follows:
            Name of creditor                              Basis for separate classification and        Amount of arrearage Interest       Estimated total
                                                          treatment                                    to be paid          rate           payments
                                                                                                                                          by trustee


                                                                                                               $0.00              0%               $0.00


            Insert additional claims as needed.


      Part 6:       Executory Contracts and Unexpired Leases


     6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
         and unexpired leases are rejected.

            Check one.
                None. If "None" is checked, the rest of Section 6.1 need not be completed or reproduced.

                Assumed items. Current installment payments will be disbursed by the trustee. Arrearage payments will be disbursed by the
                trustee.
            Name of creditor                Description of leased property or       Current              Amount of            Estimated total     Payment
                                            executory contract                      installment          arrearage to be      payments by         beginning
                                                                                    payment              paid                 trustee             date (MM/
                                                                                                                                                  YYYY)


                                                                                           $0.00                $0.00                $0.00


            Insert additional claims as needed.


      Part 7:       Vesting of Property of the Estate


     7.1 Property of the estate shall not re-vest in the debtor(s) until the debtor(s) have completed all payments under the confirmed plan.


      Part 8:       General Principles Applicable to All Chapter 13 Plans


      8.1    This is the voluntary chapter 13 reorganization plan of the debtor(s). The debtor(s) understand and agree(s) that the chapter 13 plan may be
             extended as necessary by the trustee (up to any period permitted by applicable law) to insure that the goals of the plan have been achieved.
             Notwithstanding any statement by the trustee’s office concerning amounts needed to fund a plan, the adequacy of plan funding in order to meet
             the plan goals remains the sole responsibility of debtor(s) and debtor(s)’ attorney. It shall be the responsibility of the debtor(s) and debtor(s)’
             attorney to monitor the plan to ensure that the plan remains adequately funded during its entire term.

      8.2    Prior to the meeting of creditors, the debtor(s) shall comply with the tax return filing requirements of 11 U.S.C § 1308 and provide the trustee with
             documentation of such compliance by the time of the meeting. Debtor(s)’ attorney or debtor(s) (if pro se) shall provide the trustee with the
             information needed for the trustee to comply with the requirements of 11 U.S.C. § 1302 as to the notification to be given to Domestic Support
             Obligation creditors, and debtor(s)’ attorney or debtor(s) (if pro se) shall provide the trustee with the calculations relied upon to determine the
             debtor(s)’ current monthly income and disposable income.

      8.3    The debtor(s) shall have a duty to inform the trustee of any assets acquired while the chapter 13 case is pending, such as insurance proceeds,
             recovery on any lawsuit or claims for personal injury or property damage, lottery winnings, or inheritances. The debtor(s) must obtain prior court
             approval before entering into any postpetition financing or borrowing of any kind, and before selling any assets.




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      8.4   Unless otherwise stated in this plan or permitted by a court order, all claims or debts provided for by the plan to receive a distribution shall be paid
            by and through the trustee.

      8.5   Percentage fees to the trustee are paid on receipts of plan payments at the rate fixed by the United States Trustee. The trustee has the
            discretion to adjust, interpret, and implement the distribution schedule to carry out the plan, provided that, to the extent the trustee seeks a
            material modification of this plan or its contemplated distribution schedule, the trustee must seek and obtain prior authorization of the court. The
            trustee shall follow this standard plan form sequence unless otherwise ordered by the court:

                   Level One:   Unpaid filing fees.
                   Level Two:   Secured claims and lease payments entitled to 11 U.S.C. § 1326(a)(1)(C) pre-confirmation adequate protection payments.
                   Level Three: Monthly ongoing mortgage payments, ongoing vehicle and lease payments, installments on professional fees, and
                                postpetition utility claims.
                   Level Four:  Priority Domestic Support Obligations.
                   Level Five:  Mortgage arrears, secured taxes, rental arrears, vehicle payment arrears.
                   Level Six:   All remaining secured, priority and specially classified claims, and miscellaneous secured arrears.
                   Level Seven: Allowed nonpriority unsecured claims.
                   Level Eight: Untimely filed nonpriority unsecured claims for which an objection has not been filed.
      8.6   As a condition to the debtor(s)’ eligibility to receive a discharge upon successful completion of the plan, debtor(s)’ attorney or debtor(s) (if pro se)
            shall file Local Bankruptcy Form 24 (Debtor’s Certification of Discharge Eligibility) with the court within forty-five (45) days after making the final
            plan payment.

      8.7   The provisions for payment to secured, priority, and specially classified unsecured creditors in this plan shall constitute claims in accordance with
            Bankruptcy Rule 3004. Proofs of claim by the trustee will not be required. In the absence of a contrary timely filed proof of claim, the amounts
            stated in the plan for each claim are controlling. The clerk shall be entitled to rely on the accuracy of the information contained in this plan with
            regard to each claim. Unless otherwise ordered by the court, if a secured, priority, or specially classified creditor timely files its own claim,
            then the creditor’s claim shall govern, provided the debtor(s) and debtor(s)’ attorney have been given notice and an opportunity to object. The
            trustee is authorized, without prior notice, to pay claims exceeding the amount provided in the plan by not more than $250.


      8.8 Any creditor whose secured claim is not modified by this plan and subsequent order of court shall retain its lien.

      8.9   Any creditor whose secured claim is modified or whose lien is reduced by the plan shall retain its lien until the underlying debt is discharged
            under 11 U.S.C. § 1328 or until it has been paid the full amount to which it is entitled under applicable nonbankruptcy law, whichever occurs
            earlier. Upon payment in accordance with these terms and entry of a discharge order, the modified lien will terminate and be released. The
            creditor shall promptly cause all mortgages, liens, and security interests encumbering the collateral to be satisfied, discharged, and released.

      8.10 The provisions of Sections 8.8 and 8.9 will also apply to allowed secured, priority, and specially classified unsecured claims filed after the bar
           date. LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE DEBTOR(S)’ ATTORNEY OR DEBTOR(S) (IF PRO
           SE) WILL NOT BE PAID. The responsibility for reviewing the claims and objecting where appropriate is placed upon the debtor(s).


      Part 9:       Nonstandard Plan Provisions


     9.1 Check “None” or List Nonstandard Plan Provisions.


                None. If "None" is checked, the rest of part 9 need not be completed or reproduced.

     Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
     Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

     The following plan provisions will be effective only if the applicable box in Part 1 is checked. Any provision set forth herein is subject to
     court approval after notice and a hearing upon the filing of an appropriate motion.




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      Part 10:     Signatures


     10.1 Signatures of Debtor(s) and Debtor(s)’ Attorney.

     If the debtor(s) do not have an attorney, the debtor(s) must sign below; otherwise the debtor(s)’ signatures are optional. The attorney for the
     debtor(s), if any, must sign below.

     By signing this plan the undersigned, as debtor(s)’ attorney or the debtor(s) (if pro se), certify(ies) that I/we have reviewed any prior confirmed plan(s),
     order(s) confirming prior plan(s), proofs of claim filed with the court by creditors, and any orders of court affecting the amount(s) or treatment of any
     creditor claims, and except as modified herein, this proposed plan conforms to and is consistent with all such prior plans, orders, and claims. False
     certifications shall subject the signatories to sanctions under Bankruptcy Rule 9011.

     By filing this document, debtor(s)’ attorney or debtor(s) (if pro se), also certify(ies) that the wording and order of the provisions in this
     chapter 13 plan are identical to those contained in the standard chapter 13 plan form adopted for use by the United States Bankruptcy
     Court for the Western District of Pennsylvania, other than any nonstandard provisions included in Part 9. It is further acknowledged that
     any deviation from the standard plan form shall not become operative unless it is specifically identified as a “nonstandard” term and is
     approved by the court in a separate order.




     X /s/ Nancy R. Pfeil                                                     X
     Signature of Debtor 1                                                    Signature of Debtor 2


     Executed on   7/19/2018                                                 Executed on

                   MM/DD/YYYY                                                              MM/DD/YYYY



     X /s/ Michael S. Geisler                                                Date   7/19/2018
     Signature of debtor(s)' attorney                                               MM/DD/YYYY




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